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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION

In Re:
Jacqueline Bastanzi,                                  Case No. 18-10154-KKS

               Debtor

_______________________________/

                       CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN
                      BK GLOBAL REAL ESTATE SERVICES TO PROCURE
                     CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327


       COMES NOW the Chapter 7 Trustee, Theresa M. Bender, and pursuant to 11 U.S.C. § 327,

states as follows:


       1. Theresa M. Bender, is the duly qualified and acting Chapter 7 Trustee of the bankruptcy

          estate of Jacqueline Bastanzi.

       2. An asset of the bankruptcy estate is real property located at 801 SW 2nd Avenue Trenton, FL

          32693, and which is legally described as follows: SEC/TWN/RNG/MER:SEC 17 TWN 10S

          RNG 15E LOT 9 PINEWOOD SUBD 47/30 139/ 551 185/448 185/449 188/260 202/309

          202/310 252/160 252

          hereinafter referred to as the “Real Property”.

       3. The Debtor has not declared the Real Property as exempt.

       4. The Debtor listed the Real Property on their schedules as having a value of $84,000.00

       5. The Real Property is subject to the following mortgage or lien:

              a. First Mortgage Holder: SLS (Specialized loan servicing)

       6. The creditors holding mortgages or liens have filed proofs of claims setting forth the

          following balances due and owing on the Real Property:

              a. SLS Specialized Loan Servicing in an amount exceeding $113,926.00.
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7. Based upon the market value of the Real Property provided by the Debtor and the Proof of

   Claim [or schedules], of the Debtor, the first mortgage debt is in excess of the market value

   of the Real Property.

8. The Handbook for Chapter 7 Trustees published by the Executive Office of the United States

   Trustee, states on pages 4 – 14 under Section 9 “Sales of Assets” (a) General Standards “A

   trustee may sell assets only if the sale will result in a meaningful distribution to creditors.

   The Section further states “the trustee may seek a “carve-out” from a secured creditor and

   sell the property at issue if the “carve-out” will result in a meaningful distribution to

   creditors. Further, the Section states “The trustee must also consider whether the cost of

   administration or tax consequences of any sale would significantly erode or exhaust the

   estate’s equity interest in the asset.”

9. BK Global Real Estate Services (“BK Global”) provides services to trustees as BK Global

   has expertise and experience in assisting the trustee in negotiating with secured creditors to

   accomplish the following:

      a. Sell the Real Property under 11 U.S.C. § 363(b) to whichever party the Chapter 7

          Trustee determines to have made the best qualified offer with the sale approved by the

          Court, pursuant to 11 U.S.C. § 363;

      b. Obtain the release the senior mortgage and waive all of its claims against the estate

          with respect to the Real Property (including any deficiency claims resulting from the

          proposed sale);

      c. Work with the secured mortgage holder to enter into an agreement for an 11 U.S.C. §

          506 surcharge to pay all of the closing expenses associated with the § 363 sale,

          including the payment of a six percent (6%) real estate brokerage commission and

          reimbursement of their out-of-pocket expenses to BK Global and any associated real
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          estate professional, paid from the proceeds of the sale, and provide a meaningful

          carve out for the benefit of allowed unsecured creditors of the Debtor’s estate; and

      d. Make certain the amount of the carve out is clearly set out in the motion to sell the

          Real Property pursuant to 11 U.S.C. § 363.

10. BK Global will assist the Chapter 7 trustee in negotiations with the first mortgage holder to

   obtain the consent of the first mortgage holder for the sale of the Real Property. A carve out

   from the sale proceeds of the Real Property for the payment of a six percent (6%) real estate

   commission to BK Global and any associated real estate professional, and a carve out from

   the sale proceeds, such amount for the benefit of unsecured creditors of the bankruptcy

   estate, which will result in a meaningful distribution to the creditors, and upon a successful

   resolution with the secured creditor, a separate motion will be filed seeking approval of the

   settlement terms and conditions.

11. BK Global will not be entitled to any fees if the first mortgage holder does not grant its

   consent or the Court does not grant the motion to approve the sale of the Real Property.

12. In no event will the bankruptcy estate have any obligation to pay BK Global or associated

   real estate professional for their services, or to pay the customary title and closing services.

   The terms of the listing agreement and this Application provide that BK Global and listing

   agent are only entitled to payment if and when (a) secured creditor grants its consent, (b) the

   motion to approve sale is granted and (c) the Real Property is sold, in which event BK

   Global and listing agent will receive a six percent (6%) real estate brokerage commission and

   obtain reimbursement of any out-of-pocket expenses.

13. The trustee believes that the highest and best value for the Real Property will be generated

   through a sale in which the Real Property is widely marketed to the public and offered at the

   highest price that the market will bear. The Trustee further believes that such a sale is in the
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          best interest of the Debtor’s bankruptcy estate, but can only be achieved if the secured

          creditor’s consent is first obtained. The Chapter 7 trustee believes that retaining BK Global

          and/or an associated real estate professional to obtain the secured creditor’s consent is in the

          best interest of the Debtor’s bankruptcy estate.

      14. The trustee submits that the terms of employment and compensation as set out in this

          application and the listing agreement (Exhibit “A”), are reasonable in light of the extensive

          experience of BK Global and any associated real estate professional, and the nature of the

          services they provide.

      15. BK Global attested that it is a disinterested person within the meaning of Section 101(14) of

          the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014 and 2016(a).

          Attached hereto as Exhibit “B” is an Affidavit of Disinterestedness of BK Global. BK

          Global also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee

          with any individual or entity other than listing agent or a buyer’s agent, if applicable.


      WHEREFORE, based upon the foregoing, the Chapter 7 trustee seeks the Court’s authority to

retain BK Global in this case and requests that the Court approve the compensation arrangements set

forth in the listing agreement and this application, pursuant to Sections 327, 328(a) and 330 of the

Bankruptcy Code; and for such other and further relief as the Court determines is appropriate.


      DATED: 12/17/18                            _/s/ Theresa M. Bender_
                                                 THERESA M. BENDER
                                                 CHAPTER 7 TRUSTEE
                                                 Theresa M. Bender, P.A.
                                                 Post Office Box 14557
                                                 Tallahassee, FL 32317
                                                 PH: (850) 205-7777
                                                 FL. Bar # 0749486
                                                 Tmbenderch7@gmail.com
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                                                   CERTIFICATE OF SERVICE

        I hereby certify that on (Date)8, the above and foregoing document was filed electronically using CM/ECF and a
true and correct copy of this document was served as follows:



           X    upon filing, the CM/ECF system sent notification to:

Barbara A. Cusumano on behalf of Debtor Jacqueline Vega Bastanzi
Barbara@BarbaraDebtLaw.com,BarbaraDebtLaw.CaseManager@gmail.com

Gavin Stewart on behalf of Creditor Specialized Loan Servicing LLC
bk@stewartlegalgroup.com

Allison McElhaney Stocker on behalf of Creditor Drummond Community Bank
allison.stocker@akerman.com;john.macdonald@akerman.com,
ann.lambert@akerman.com;Jennifer.meehan@akerman.com

United States Trustee
USTPRegion21.TL.ECF@usdoj.gov

and, any and all other parties, if any, participating in the CM/ECF system in this

matter as shown within the receipt generated at the time of the filing of this

Application; and



           X    via United States Mail, postage prepaid and addressed to all parties of interest,

                BASTANZI, JACQUELINE VEGA, 11060 NE 106TH COURT, ARCHER, FLORIDA 32618



12/17/18                                                   /s/Theresa M. Bender




                                                        EXHIBIT A
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                                   BK Global Real Estate Brokerage Listing Agreement

This Real Estate Brokerage Listing Agreement (“Agreement”) is between Theresa M. Bender (“TRUSTEE”) and BK
Global Real Estate Services LLC (“BROKER”)

Authority to Sell Property: Trustee gives Broker the right to be the EXCLUSIVE BROKER in the sale of the real and
personal property (collectively “Property”) described as: 801 SW 2nd Avenue Trenton, FL 32693

Upon full execution of a contract for sale and purchase of the Property and court approval, all rights and obligations of
this Agreement will automatically extend through the date of the actual closing of the sales contract. Trustee and Broker
acknowledge that this Agreement does not guarantee a sale. This Property will be offered to any person without regard to
race, color, religion, sex, handicap, familial status, national origin, or any other factor protected by federal, state, or local
law. Trustee certifies and represents that she/he/it is legally entitled to convey the Property and all improvements.

Price: The starting listing price of the property will be: $_____________. If there are no acceptable offers after 15 days,
the list price will be reduced 5% and will reoccur every 15 days until the listing expires or if an acceptable offer is
received.

Brokers Obligations: Broker will assist the Trustee to make commercially reasonable efforts to procure the consent and
agreement of the senior mortgagee (“Secured Creditor”) to:

    a) Sell the Property under 11 U.S.C. § 363(b) to whichever third party you determine to have made the best qualified
       offer during a public sale approved by the court or agree to 11 U.S.C. § 363(k) and place a credit bid on the
       Property from the estate;
    b) Release its lien with respect to the Property; and
    c) Agree to a 11 U.S.C. § 506 surcharge to (x) pay our fee and expenses, any commission payable to the local real
       estate broker and all other fees and expenses associated with the sale, and (y) provide a carve-out for the benefit
       of allowed unsecured creditors of the estate.

Brokers Duties: Broker duties will include but will not be limited to the following services;

       Researching the real estate, running title and lien searches to identify creditors for resolution and any title issues.
       Advising the trustee of any issues and discuss potential resolutions.
       Conducting the resolutions under the trustee’s direction.
       Assisting the trustee in the collection of documents and information for employment.
       Making and identifying the correct contact with the secured creditors.
       Notifying the secured creditor of the upcoming sale and identifying servicer requirements.
       Assisting the trustee in establishing market value and negotiating with the Servicer an acceptable sales price and
        establishing a carve-out.
       Development of online marketing, email campaign and full nationwide marketing services.
       Conducting an online sale.
       Use of the BK Global technology platform.
       Assist the trustee in the review of all offers and coordinate the final documentation of the offer accepted by the trustee.
       Managing contract requirements such as inspections, appraisals and HOA applications.
       Coordinating closings and assisting the trustee in the collection of required information for court filing.
       Closing the transaction and ensure the estate has received the appropriate funds.
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Local Listing Brokers Obligations: Broker will select a Local Listing Broker to co-list the property and provide
limited services. Trustee will retain both Broker and the Local Listing Broker to market the Property for sale to the
public under a separate listing agreement.

Local Listing Brokers Duties: Local Listing Brokers duties will include but will not be limited to the following services;

         Inspecting the property and completing a broker’s price opinion.
         Listing the property in the multiple listing service (MLS).
         Posting a for sale sign in the yard and coordinating showings.

Trustee Obligations: In consideration of Broker’s obligations, Trustee agrees to:

      a) Cooperate with Broker in carrying out the purpose of this Agreement
      b) Provide Broker with keys to the Property and make the Property available for Broker to show during reasonable
         times.
      c) File all court motions and documents in a timely manner to ensure a successful sale.
      d) Advise Broker of any special issues our court requirements.

Compensation: 6% Real Estate Commission will be paid out of the proceeds off the sale and is due and paid at closing.
The commission will cover the costs of the Broker, Local Listing Broker and Buyers Broker. The commission will be
paid as follows:

         2% Broker
         2% Local Listing Broker
         2% Buyers Broker

Term of Agreement: The term of this Agreement will commence when signed by the Trustee and the court approves it.
This Agreement will automatically terminate upon the closing of the sale of the Property, or it may be terminated by either
party for any or no reason after 180 days from commencement. In addition, this Agreement will be terminated if the
Trustee files a Report of No Distribution, files a Notice of Abandonment of the subject property, or submits a Trustee’s
Final Report to the Office of the United States Trustee.

Broker acknowledges and agrees that (a) the Trustee is not executing this Agreement in an individual capacity, but solely
as trustee of the estate, (b) Broker does not and will not have any right or claim with respect to the estate and (c) Brokers
sole recourse for payment of real estate commission, fees and expenses will be paid at closing with court approval and
under the Consent of the Secured.

This Agreement constitutes our complete agreement on this matter and supersedes all prior agreements and
representations concerning the same. It may not be modified or amended except in a writing signed by both parties.

The effective date of this agreement is __________________.

BROKER:

By:                                         Acknowledged and agreed as of the date set forth above.
      Patrick Butler, Broker-in-Charge

TRUSTEE: By: /s/Theresa M. Bender Acknowledged and agreed as of the date set forth above.
Theresa M. Bender, not individually but solely as Trustee in the referenced matter.
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